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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
                                     WESTERN DIVISION


TAMARA GREEN et al.,

       Plaintiffs/Counterclaim Defendants,

            v.                                       C.A. No.: 3:14-cv-30211-MGM

WILLIAM H. COSBY, JR.,

       Defendant/Counterclaim Plaintiff.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties to the above-

captioned action hereby stipulate to the dismissal of all counterclaims brought by

defendant/counterclaim plaintiff William H. Cosby, Jr., with prejudice, without costs, and with

all rights of appeal waived.

Respectfully submitted,

 /s/ Joseph Cammarata
Joseph Cammarata, Esq.
Matthew Tievsky, Esq.
CHAIKIN, SHERMAN,
CAMMARATA & SIEGEL, P.C.
The Law Building
1232 Seventeenth Street NW
Washington, D.C. 20036
Ofc: (202) 659-8600
Fax: (202) 659-8680
E-mail: joe@dc-law.net

Attorneys for Plaintiffs/
Counterclaim Defendants
Tamara Green, Therese Serignese,
Linda Traitz, the Estate of Louisa
Moritz, Barbara Bowman, Joan
Tarshis, and Angela Leslie
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 /s/ Sarah Kelly-Kilgore
Alan A. Greenberg, Esq.
Wayne R. Gross, Esq.
Sarah Kelly-Kilgore, Esq.
GREENBERG GROSS LLP
601 South Figueroa Street, 30thFloor
Los Angeles, CA 90017
(213) 334-7000
Email: agreenberg@ggtriallaw.com
        wgross@ggtriallaw.com
        skellykilgore@ggtriallaw.com

John J. Egan, Esq.
Robert L. Quinn, Esq.
Lauren F. Olanoff, Esq.
Egan, Flanagan and Cohen, P.C.
67 Market Street, P.O. Box 9035
Springfield, MA 01102-9035
(413) 737-0260
Email: jje@efclaw.com
        rlq@efclaw.com
        lfo@efclaw.com

Attorneys for Defendant/Counterclaim
Plaintiff William H. Cosby, Jr.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on May 31, 2019.



Dated: May 31, 2019                                  /s/ Sarah Kelly-Kilgore
                                                       Sarah Kelly-Kilgore




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